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     California Bar No.223577
 3   626 South Third Street
     Las Vegas, Nevada 89101
 4   (702) 427-8686
     Attorney for JAMES
 5
 6                               UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8
 9   UNITED STATES OF AMERICA,                     )
                                                   )       2:17-cr-000180-JAD-PAL-2
10                         Plaintiff,  )
                                       )                  STIPULATION TO CONTINUE
11       vs.                           )                  TIME FOR OBJECTIONS TO THE
                                       )                  MAGISTRATE’S REPORT AND
12 EVERLY JAMES,                       )                  RECOMMENDATION
                                       )
13                   Defendant.        )
   ____________________________________)
14
15          IT IS HEREBY STIPULATED AND AGREED by and between Defendant, EVERLY
16 JAMES, by and through his counsel, TODD M. LEVENTHAL, ESQ., and the United States of
17 America, by its counsel, TONY LOPEZ, ESQ, Assistant U.S. Attorney, that the time to object to
18 the Magistrate’s Report and Recommendation in the above-captioned matter be continued for 2
19 weeks.
20          This Stipulation is entered into for the following reasons
21          1. Mr. Leventhal was appointed to represent Mr. James on May 31, 2018.
22          2. Mr. Leventhal has diligently read through much of the discovery in this matter. Mr.
23 Leventhal has spoken to Mr. James as to his wish to proceed with the objection.
24          3. Mr. Leventhal needs additional time to consider whether or not this objection would be
25 in Mr. James best interest.
26          3. The parties are currently in negotiation and need additional time that may alleviate the
27 need to object.
28          4. Additionally, denial of this request for a continuance could result in a miscarriage of
         Case 2:17-cr-00180-JAD-NJK           Document 373      Filed 06/22/18     Page 2 of 4



 1 justice.
 2            5. Mr. Leventhal has spoken to TONY LOPEZ, Assistant United States Attorney, and he
 3 has no objection to this continuance.
 4
 5
 6
 7            DATED this 19TH day of JUNE, 2018.
 8
 9
10 ________-s-_______________                                 ___________-s-_________________
   TODD M. LEVENTHAL, ESQ.                                     TONY LOPEZ, ESQ.
11 Counsel for defendant                                       Assistant U.S. Attorney
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           Case 2:17-cr-00180-JAD-NJK              Document 373         Filed 06/22/18     Page 3 of 4



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 5
                            UNITED STATES DISTRICT COURT
 6                               DISTRICT OF NEVADA
 7 UNITED STATES OF AMERICA,             )
                                         )                    2:17-cr-000180-JAD-PAL-2
 8                     Plaintiff,        )
                                         )                    STIPULATION TO CONTINUE
 9         vs.                           )                    TIME FOR OBJECTIONS TO THE
                                         )                    MAGISTRATE’S REPORT AND
10   EVERLY JAMES,                       )                    RECOMMENDATION
                                         )
11                     Defendant.        )
     ____________________________________)
12
13
14
15                                            FINDINGS OF FACT
                Based on the stipulation of counsel, and good cause appearing, the Court finds that:
16
                1. Mr. Leventhal was appointed to represent Mr. James on May 31, 2018.
17
                2. Mr. Leventhal has diligently read through much of the discovery in this matter. Mr.
18
     Leventhal has spoken to Mr. James as to his wish to proceed with the objection.
19
                3. Mr. Leventhal needs additional time to consider whether or not this objection would be
20
     in Mr. James best interest.
21
                3. The parties are currently in negotiation and need additional time that may alleviate the
22
     need to object.
23
                4. Additionally, denial of this request for a continuance could result in a miscarriage of
24
     justice.
25
                5. Mr. Leventhal has spoken to TONY LOPEZ, Assistant United States Attorney, and he
26
     has no objection to this continuance.
27
28
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 1
 2
 3                                             ORDER
 4                Accordingly, IT IS SO ORDERED that the current deadline in which to file an
 5 objection to the Magistrate’s Report and Recommendation currently set for June 20, 2018 is
 6 hereby vacated and the same is continued and reset to July 4, 2018
 7
 8
 9         DATED:
           Dated thisJune 22, 2018.
                      ________ day of JUNE, 2018.
           Nunc pro tunc: June 20, 2018.
10
11
                                                       __________________________________
12                                                     UNITED STATES MAGISTRATE JUDGE
                                                                        DISTRICT
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